Case 4:24-cv-00953-P Document 25 Filed 10/10/24    Page 1 of 1 PageID 268



               UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF TEXAS
                   FORT WORTH DIVISION

   OUTSOURCINGUNITED    STATES
                 FACILITIES     DISTRICT
                            ASSOCIATION ETCOURT
   AL.,      FOR THE NORTHERN    DISTRICT  OF TEXAS
                     FORT WORTH DIVISION
      Plaintiff,
   REGINALEA KEMP,
   v.                                     No. 4:24-cv-00953-P
      Plaintiff,
   UNITED STATES FOOD AND DRUG
   A
   v.DMINISTRATION ET AL.,                        No. 4:23-cv-00841-P

     Defendant.
   REGIONS BANK ET AL.,
                                ORDER
      Defendants.
      Before the Court is Plaintiffs’ Emergency Motion for a Temporary
                                   ORDER
   Restraining Order. ECF No. 7. In addition to the expedited briefing
      Before the Court is Plaintiff’s Unopposed Motion for Leave to File
   previously ordered by the Court (ECF No. 10), the Court finds it
   Second Amended Complaint. ECF No. 18. Having considered the Motion
   necessary to set a hearing on the matter. The Court hereby SETS the
   and applicable docket entries, the Court GRANTS the Motion.
   Motion for a hearing at 11:00 a.m. on October 15, 2024, in the Fourth
      SOCourtroom
   Floor  ORDERED    of on
                        thethis 18th
                            Eldon  B.day of September
                                      Mahon            2023.
                                             United States Court, 501 W
   10th St., Fort Worth, Texas, 76102. All counsel for Parties are
   ORDERED to attend.

      SO ORDERED on this 10th day of October 2024.


                       ______________________________________________
                       Mark T. Pittman
                       UNITED STATES DISTRICT JUDGE
